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                    UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA
__________________________________________
 VIVIAN PATZ and MICHAEL PATZ,             )
                                           )
                  Plaintiffs,              ) Civil Action No.: 2:17-cv-03465
      v.                                   )
                                           )
 SUREWAY SUPERMARKET, et al.               ) Judge Susie Morgan
                                           ) Magistrate Janis van Meerveld
                 Defendants.               )
 ________________________________________ )



         MOTION FOR PARTIAL SUMMARY JUDGMENT TO PIERCE
                  DEFENDANTS’ CORPORATE VEIL

     COME NOW, the Plaintiffs, Vivian Blackledge and Michael Patz, by and through

undersigned counsel and requests partial summary judgment on the issue of Defendant

Shelly Jambon’s personal liability.

     As explained further in the Memorandum in Support and exhibits thereto, good

cause exists partial summary judgment.

     WHEREFORE, Plaintiffs respectfully request that this Court order partial summary

judgment on the issue of Defendant Shelly Jambon’s personal liability.

                                      Respectfully submitted,

                                      VIVIAN PATZ and MICHAEL PATZ,

                                      /s/ William Most__________
                                      WILLIAM MOST
                                      La. Bar No. 36914
                                      201 St. Charles Ave., Ste. 114, # 101
                                      New Orleans, LA 70170
                                      T: (504) 509-5023
                                      Email: williammost@gmail.com
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                             CERTIFICATE OF SERVICE

       I hereby certify that on November 26, 2018, a copy of the Plaintiff’s Motion for

Partial Summary Judgment as filed electronically with the Clerk of Court via the

CM/ECF system. Notice of this filing will be sent to all counsel of record by operation of

the court’s electronic filing system.


                                          _/s/ William Most____________
                                             William Most
